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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                             Case No. 19-21391-CIV-WILLIAMS

  KENDRA MOORE,

         Plaintiff,

  v.

  KING GAME INC.,
  and MARC O. FITZ-RITSON,

         Defendants.
                                            /

       ORDER OF REFERRAL AND NOTICE OF COURT PRACTICE IN FLSA CASES

         THIS MATTER is before the Court upon a sua sponte review of the record.

  Pursuant to 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules for the Southern

  District of Florida, all discovery disputes and non-dispositive pretrial motions are

  REFERRED to Magistrate Judge Edwin G. Torres. It is further ORDERED that the Parties

  shall adhere to the Federal Rules of Civil Procedure, the Local Rules for the Southern

  District of Florida, Judge Williams' Court Practices and Procedures, and Judge Torres'

  Standing Order Setting Discovery Procedures. Judge Williams' Court Practices and

  Procedures and Judge Torres' Standing Order Setting Discovery Procedures are

  available at the Court's website: http://www.flsd.uscourts.gov/content/judge-kathleen-m-

  williams.

         Additionally, the Court notes that this is a Fair Labor Standards Act (“FLSA”) case

  in which Plaintiff seeks unpaid wages. Accordingly, to assist the Court in the management

  of the case, and in an effort to foster its early and cost effective resolution, the Court

  ORDERS the parties to comply with the following requirements.
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  A.     Statement of Claim and Response

         1. Plaintiff shall file a short Statement of Claim setting forth the following:

                a) The rate of pay (e.g., hourly, daily, weekly, etc.); and, if other than hourly,

                the number of hours that the payment was intended to compensate;

                b) The total amount of alleged unpaid wages;

                c) The calculation of such wages (number of hours multiplied by the rate of

                pay along with corresponding exact dates such wages were earned);

                d) The nature of the wages (e.g., regular or overtime); and

                e) The amount of attorneys’ fees (hours and rate) incurred to date.

  This information shall be filed with the Court no later than April 26, 2019, and must be

  set forth in the form of an easily readable chart. In addition, Plaintiff shall promptly serve

  a copy of this Notice of Court Practice, the Statement of Claim, and copies of all

  documents supporting Plaintiff’s claims (e.g., time sheets, pay stubs and the like) to

  Defendants’ counsel when Defendants’ counsel first appears in the case, or at the time

  of filing the Statement of Claim if Defendants’ counsel has already appeared in the case.

         2. Within fifteen days of receiving service of Plaintiff’s Statement of Claim,

  Defendants shall file a Response to Plaintiff’s Statement of Claim (the “Response”),

  providing their own chart of the wages paid to Plaintiff during the same time periods that

  corresponds to the information provided by Plaintiff in paragraph 1. Defendants shall also

  produce all payroll or other relevant documents (e.g., time sheets, pay stubs, written

  agreements, work schedules, work logs, and the like) supporting the Defendants’

  Response. If Defendants do not have records regarding the number of hours worked by

  Plaintiff, Defendants shall provide their estimate of the number of hours worked during

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  each week for which unpaid wages are claimed. The Response must not contain any

  legal argument or citation to authority.

         3. No later than five days after the close of discovery, Plaintiff shall file an

  Amended Statement of Claim.          Defendants may file a response to the Amended

  Statement of Claim within five days of Plaintiff’s filing.

  B.     Consent to Magistrate Judge; Referral for Settlement Conference and
         Fairness Determination

         1. The parties shall promptly confer to consider consenting to referral for trial of

  the action to the Magistrate Judge. If consent is not agreed to, pursuant to Rule 1 of the

  Magistrate Rules of the Southern District of Florida, the Court hereby COMPELS the

  parties to attend a Settlement Conference before Magistrate Judge Edwin G. Torres

  within 28 days after the date that Defendants’ Response is due. Plaintiff’s counsel must

  confer with Defendants’ counsel and contact Magistrate Judge Torres’s Chambers within

  seven days after the date that Defendants’ Response is due to schedule a date for the

  Settlement Conference. The Settlement Conference may not be scheduled until all

  payroll documents are exchanged between the parties and reviewed by Plaintiff’s

  counsel with the client.      Magistrate Judge Torres will issue an Order Scheduling

  Settlement Conference outlining the time and requirements for the Settlement

  Conference.    The Settlement Conference date may not be extended without prior

  approval from Magistrate Judge Torres.

         Except as provided under Local Rule 16.2.E for public-sector entities, the

  appearance of counsel and each party or representatives of each party with full authority

  to enter into a full and complete compromise and settlement is mandatory. Appearance


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  shall be in person; telephonic appearance is prohibited. If insurance is involved, an

  adjustor with authority up to the policy limits or the most recent demand, whichever is

  lower, shall attend.

         All discussions, representations and statements made at the Settlement

  Conference will be confidential and privileged.

         The parties are responsible for ensuring that within seven days following the

  Settlement Conference, a report is filed that indicates whether the case settled (in full or

  in part), the Settlement Conference was continued with the consent of the parties, or

  Magistrate Judge Torres declared an impasse.

         2. In all FLSA cases, if the case is resolved by way of settlement at the settlement

  conference, judicial review and approval of the settlement is necessary to give the

  settlement final and binding effect. See Lynn’s Food Stores, Inc. v. United States, 679

  F.2d 1350, 1353 (11th Cir. 1982).       Accordingly, this matter is also REFERRED to

  Magistrate Judge Edwin G. Torres to determine whether such settlement in this matter is

  “a fair and reasonable resolution of a bona fide dispute.” Id.

  C.     Joint Scheduling Report

         WITHIN TWENTY (20) DAYS from the date that the last defendant responds to

  the complaint, the Parties shall file a joint conference report and a joint proposed

  scheduling order, as required by S.D. Fla. Local Rule 16.1(b). As part of that filing, the

  Parties shall complete and submit the attached form proposing deadlines.

  D.     Non-Compliance with Order and Rules of Court

         Non-compliance with any provision of this Order, the Federal Rules of Civil

  Procedure, the Local Rules, or this Court’s Practices and Procedures (available at:

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  http://www.flsd.uscourts.gov/?page_id=13071), may subject the offending party to

  sanctions, including dismissal of this case. It is the duty of all counsel to take all actions

  necessary to comply with this Order.

         DONE AND ORDERED in Chambers in Miami, Florida, this 12th day of April, 2019.




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                           Case No. XX-XXXXX-CIV-WILLIAMS

  PARTY NAME,

        Plaintiff(s),

  vs.

  PARTY NAME,

       Defendant(s).
  ___________________/

                        SCHEDULE JOINTLY PROPOSED BY THE PARTIES

        THIS MATTER is set for trial for the week of [Month, Day, Year]. The Parties

  propose to adhere to the following schedule:

        [Month, Day, Year]         The Parties shall furnish their initial disclosures
                                   pursuant to Fed. R. Civ. P. 26. The Parties are under
                                   a continuing obligation to furnish supplements within
                                   ten (10) days of receipt or other notice of new or
                                   revised information.


        [Month, Day, Year]         The Parties shall file motions to amend pleadings or
                                   join Parties.


        [Month, Day, Year]         The Plaintiff shall disclose experts, expert witness
                                   summaries and reports, as required by Federal Rule of
                                   Civil Procedure 26(a)(2).


        [Month, Day, Year]         The Defendant shall disclose experts, expert witness
                                   summaries and reports, as required by Federal Rule of
                                   Civil Procedure 26(a)(2).

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       [Month, Day, Year]     The Parties shall exchange rebuttal expert witness
                              summaries and reports, as required by Federal Rule of
                              Civil Procedure 26(a)(2).


       [Month, Day, Year]     The Parties shall complete all discovery, including
                              expert discovery.


       [Month, Day, Year]     The Parties shall complete mediation and file a
                              mediation report with the Court.


       [Month, Day, Year]     The Parties shall file all dispositive pre-trial motions

                              and memoranda of law. The Parties shall also file any

                              motions to strike or exclude expert testimony, whether

                              based on Federal Rule of Evidence 702 and Daubert

                              v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

                              (1993), or any another basis.



       [Month, Day, Year]     The Parties shall each file one motion in limine. All
                              motions in limine must be filed at least six (6) weeks
                              before calendar call.




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        [Month, Day, Year]         The Parties shall file their joint pretrial stipulation,
                                   witness lists, and exhibit lists in accordance with Local
                                   Rule 16.1(d) and (e). The Parties shall also file final
                                   proposed jury instructions or conclusions of law (for
                                   non-jury trials).


        [Month, Day, Year]         The Parties shall submit their deposition designations.


  By:         [Attorney(s) for Plaintiff(s)]             [Attorney(s) for Defendant(s)]




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